                                                                                   Case 3:16-cv-02194-BTM-JLB Document 7 Filed 11/02/16 PageID.27 Page 1 of 2



                                                                                    1   Alex Asil Mashiri, Esq. (SBN 283798)
                                                                                        MASHIRI LAW FIRM
                                                                                    2   A Professional Corporation
                                                                                    3   11251 Rancho Carmel Drive #500694
                                                                                        San Diego, CA 92150
                                                                                    4   Phone: (858) 348-4938
                                                                                    5   Fax: (858) 348-4939
                                                                                    6   Attorney for Plaintiff:
                                                                                    7   PARIVASH HEKMAT
                                                                                    8

                                                                                    9                         UNITED STATES DISTRICT COURT
                                                                                                            SOUTHERN DISTRICT OF CALIFORNIA
                                                                                   10

                                                                                   11   PARIVASH HEKMAT                      ) Case No. 16-cv-02194-BTM-JLB
                                                                                                                             )
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                                                                                                                             )
                                                11251 RANCHO CARMEL DR. # 500694




                                                                                                     Plaintiff,              )
                   A PROFESSIONAL CORPORATION




                                                                                   13
MASHIRI LAW FIRM

                                                       SAN DIEGO, CA 92150




                                                                                                                             ) NOTICE OF SETTLEMENT
                                                        FAX: (858) 348-4939
                                                        TEL: (858) 348-4938




                                                                                   14
                                                                                               v.                            )
                                                                                   15                                        )
                                                                                        GC SERVICES LIMITED                  )
                                                                                   16
                                                                                        PARTNERSHIP                          )
                                                                                   17                                        )
                                                                                                                             )
                                                                                   18
                                                                                                      Defendant.             )
                                                                                   19   ____________________________________ )
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                                                                                              NOTICE IS HEREBY GIVEN that Plaintiff PARIVASH HEKMAT
                                                                                   21
                                                                                        (“Plaintiff”) and Defendant GC SERVICES LIMITED PARTNERSHIP have reached
                                                                                   22

                                                                                   23   a settlement. The parties anticipate filing a joint motion dismissing the entire case
                                                                                   24
                                                                                        with prejudice within 60 days.
                                                                                   25

                                                                                   26
                                                                                              Because Plaintiff has reached a settlement with all Defendants in this case,

                                                                                   27   Plaintiff respectfully requests that all pleadings and filing requirements applicable to
                                                                                   28
                                                                                        this case as well as any scheduled hearings be vacated.
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                                                                                                                         NOTICE OF SETTLEMENT
                                                                                   Case 3:16-cv-02194-BTM-JLB Document 7 Filed 11/02/16 PageID.28 Page 2 of 2



                                                                                    1   Respectfully submitted,

                                                                                    2   DATED: November 2, 2016                MASHIRI LAW FIRM
                                                                                    3                                          A Professional Corporation
                                                                                    4                                          By: /s/ Alex Asil Mashiri
                                                                                    5
                                                                                                                               Alex Asil Mashiri
                                                                                                                               Attorney for Plaintiff,
                                                                                    6                                          PARIVASH HEKMAT
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                                                11251 RANCHO CARMEL DR. # 500694
                   A PROFESSIONAL CORPORATION




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                                                                                                                  NOTICE OF SETTLEMENT
